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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER TO SHOW CAUSE RE:
                                                                         10   This Order Relates To:                  )   APPOINTMENT OF A SPECIAL
                               For the Northern District of California
United States District Court




                                                                                                                      )   MASTER PURSUANT TO THE CASE
                                                                         11                                           )   STATUS CONFERENCE
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                                                                      )
                                                                         13
                                                                         14
                                                                         15        On August 7, 2015, the parties met for a case status
                                                                         16   conference.   Pursuant to discussion therein, the Court intends to
                                                                         17   appoint U.S. Magistrate Judge (Ret.) James Larson as Special Master
                                                                         18   and charge him to produce Reports and Recommendations ("R&Rs") on
                                                                         19   all appropriate pending motions required for trial in the above
                                                                         20   captioned case.   See Fed R. Civ. P. 53(a)(1)(C).          This includes all
                                                                         21   summary judgment motions, motions in limine, and Daubert motions
                                                                         22   pertaining to matters that will remain within this judicial
                                                                         23   district, and further includes motions for cases that will be
                                                                         24   remanded to a different jurisdiction of origin which Judge Larson
                                                                         25   believes can be decided applying Ninth Circuit law without any
                                                                         26   significant risk of conflicting circuit law resulting in appellate
                                                                         27   issues.   The Court would authorize Judge Larson to hold hearings at
                                                                         28   his discretion should he believe doing so would be helpful in
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                                                                          1   resolving a motion pending before him.        Judge Larson is appointed
                                                                          2   with the express condition that all his R&Rs are to be provided
                                                                          3   directly to Chambers for in camera review and he is not to share
                                                                          4   them with or otherwise make them known to any party.          See Fed. R.
                                                                          5   Civ. P. 53(e).   Once the Court has determined that settlements are
                                                                          6   sufficiently finalized and the proper time has arrived to act on
                                                                          7   the R&Rs, the Court will publish the collected R&Rs to the parties
                                                                          8   for review, opportunity to be heard, and objections.          See Fed. R.
                                                                          9   Civ. P. 53(f)(1)-(2).     To ensure all objections can be reviewed and
                                                                         10   settled without endangering the soon-to-follow trial dates, the
                               For the Northern District of California
United States District Court




                                                                         11   Court intends to limit the time for objections to 10 days following
                                                                         12   publication of R&Rs.    See Fed. R. Civ. P. 53(f)(2).
                                                                         13        This appointment and these restrictions will allow the parties
                                                                         14   to continue in their efforts toward pending settlements while also
                                                                         15   preparing the Court to quickly proceed to trial once dates are
                                                                         16   announced during an upcoming trial setting conference.             Any order
                                                                         17   appointing Judge Larson will be understood not to alter the
                                                                         18   appointment of Judge Vaughn R. Walker as Special Master over a
                                                                         19   different subset of motions in this case.
                                                                         20        Parties have already been given some opportunity to be heard
                                                                         21   pursuant to Fed. R. Civ. P. 53(b)(1), but are hereby ORDERED to
                                                                         22   SHOW CAUSE, in writing, within 10 days of the date of this order
                                                                         23   should any have further objections to the Court's appointment.            No
                                                                         24   action is required should a party have no further objection.            All
                                                                         25   other matters discussed during the status conference are addressed
                                                                         26   in a related minute order, ECF No. 3961, or else parties may file
                                                                         27   their requests with the Court.      In so doing, be advised the Court
                                                                         28   has already carefully considered the order of trials and remains



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                                                                          1   disinclined to alter its announced plan unless the relevant parties
                                                                          2   should settle and thus obviate a need for some of the trials.
                                                                          3        The Court is made aware of settlements in the normal course of
                                                                          4   filings by Parties.    However, Parties are hereby ORDERED to also
                                                                          5   notify any relevant Special Master of any settlements reached and
                                                                          6   associated motions thereby mooted otherwise pending before that
                                                                          7   Special Master on or after the date of this order.          Such notice
                                                                          8   must be given within 1 business day of reaching a settlement, shall
                                                                          9   be given in whatever manner deemed convenient by the relevant
                                                                         10   Special Master (vice being filed in ECF), and shall be separate
                               For the Northern District of California
United States District Court




                                                                         11   from any notice to or approvals otherwise required by the Court
                                                                         12   (whose procedures remain unchanged).       A "relevant Special Master"
                                                                         13   includes Judge Larson, Judge Walker, or whomever else the Court has
                                                                         14   or may in the future appoint to assist in pre-trial, discovery, or
                                                                         15   other appropriate matters.
                                                                         16
                                                                         17        IT IS SO ORDERED.
                                                                         18
                                                                         19        Dated: August 17, 2015
                                                                         20                                      UNITED STATES DISTRICT JUDGE
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